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May 9, 2025

Honorable Richard J. Arcara
2 Niagara Square
Buffalo, N.Y. 14202

Dear Judge Arcara,

| hope this letter finds you well. | am writing to provide a character reference for
Michael Benitez, who is currently before the court. While | have observed some
challenges in his behavior in the past, | would like to highlight certain positive attributes
that may be relevant to your considerations.

Michael has shown incredible resilience and determination since his arrest. He
supports a family of five on minimum wage and has yet to call off or be late even once
over the course of the last year and a half. He is well-known and respected for his
impeccable work ethic, going above and beyond at all times. One example is that
Michael's job is ten miles away from his home (he lives in East Buffalo, while his work
is in North Buffalo), and he often WALKS (three hours to and from) if he has no other
means or money to get there (he does have to take two buses that often don't align
with his work schedule). Rain, snow, or shine, he gets to work. This shows his
incredible dedication to his family and employment.

Regarding his family, Michael is the sole provider for his wife and three children. The
middle child is severely intellectually disabled and diagnosed with Cri du Chat
syndrome (Cat's Cry syndrome), which entails very difficult behavior and requires a lot
of intervention and assistance. In addition, his wife suffers from debilitating depression,
which she has only recently started to address at Michael's insistence. Finally, the
youngest is still in diapers. Without Michael's presence in the household, the family
simply will not be able to sustain itself.
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Michael has a unique ability to connect with others and demonstrate empathy in
various situations. He is always willing and ready to stand up for someone he
perceives to be treated unjustly, but has learned through counseling that there are
positive, productive, and peaceful means to do this. | have witnessed him engage
positively with peers and family, showing a willingness to lend support when needed,
regardless of whether he himself is in need.

Moreover, Michael has expressed a desire to improve and grow. He has taken steps
toward personal development, which reflects a commitment to change. He has
attended counseling consistently over the past nine months to learn to productively
control his emotions, which has already had a dramatic and positive impact on his
demeanor. | believe that with the continued right guidance and resources, he has the
potential to continue making positive choices in the future. | also believe that
incarceration will not contribute to the continued improvement and success of himself
and his family—it will only dismantle it and cause irreparable damage to himself, his
wife, and most importantly his children.

Thank you for considering this perspective. | appreciate your dedication to justice and
the well-being of our community.

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May 9th, 2025

Honorable Richard J. Arcara
2 Niagara Square
Buffalo, N.Y. 14202

Dear Judge Arcara,

| am writing to you regarding my brother, Michael Benitez, who is currently before the court.
While he has faced challenges, | believe it's essential to highlight his positive qualities.

Michael is the sole provider for his wife and three children, including a child with Cri du Chat
syndrome, which requires significant support. He consistently demonstrates a strong work
ethic, maintaining perfect attendance at his job while supporting his family on a
minimum-wage income. He often walks three plus hours to work when transportation options
are unavailable, showcasing his commitment. He does not consider cash assistance from
the government even as an option, opting to rather work for himself and his family. He
has become a law abiding productive member of society in every way and we are very
proud of him.

Additionally, Michael has shown a desire for personal growth. He has attended counseling for
the past nine months, learning to manage his emotions effectively. This effort has led to a
noticeable improvement in his behavior.

Moreover, Michael has the ability to connect with others and often stands up for those treated
unfairly. Through therapy, he has learned to advocate in positive and constructive ways. |
believe that with continued support, he will make further positive choices.

Incarceration would not contribute to his growth and could harm his family’s stability. Thank
you for considering this perspective.

Brandon Benitez
